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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   Lexi Negin, Bar #250376
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     HENRY M. MARTINEZ
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              CASE NO. CR. S-09-313 FCD
                                           )
12                     Plaintiff,          )
                                           )              STIPULATION AND ORDER TO CONTINUE
13         v.                              )              STATUS HEARING AND TO EXCLUDE TIME
                                           )              PURSUANT TO THE SPEEDY TRIAL ACT
14                                         )
     HENRY M. MARTINEZ,                    )
15                                         )
                       Defendant.          )
16   _____________________________________ )
17          This case is currently scheduled for a status hearing on November 16, 2009. The attorneys for both
18   parties have conferred and agree that additional time is needed for defense preparation and meetings
19   between the parties with the goal being to resolve the case by way of a disposition.
20          The parties, through their respective counsel, hereby stipulate and agree that the status conference
21   scheduled in this case for November 16, 2009, be continued until December 14, 2009, at 10:00 a.m.. In
22   addition, the parties stipulate that the time period from November 16, 2009, to December 14, 2009, be
23   excluded under the Speedy Trial Act (18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4), due to the need to
24   provide defense counsel with the reasonable time to prepare.
25   ///
26   ///
27   ///
28
               Case 2:09-cr-00313-GEB Document 16 Filed 11/13/09 Page 2 of 2


 1   DATED:November 13, 2009
 2
                          Respectfully submitted,
 3
     BENJAMIN B. WAGNER                              DANIEL BRODERICK
 4   United States Attorney                          Federal Defender
 5
 6   /s/ Lexi Negin for                              /s/ Lexi Negin
     PAUL HEMESATH                                   LEXI NEGIN
 7   Assistant U.S. Attorney                         Assistant Federal Defender
     Attorney for United States                      Attorney for Henry M. Martinez
 8
 9          IT IS SO ORDERED.
10   DATED: November 13, 2009
11
                                               _______________________________________
12                                             FRANK C. DAMRELL, JR.
                                               UNITED STATES DISTRICT JUDGE
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